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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
JOHN WILLIAM PRINCETON,
Petitioner,

v. Civil No. 3:20cev788(DJN)

COMMONWEALTH OF VIRGINIA,
Respondent.

MEMORANDUM OPINION

Petitioner John William Princeton (“Petitioner”), a Virginia federal inmate proceeding
pro se, submitted a 28 U.S.C. § 2254 petition. (ECF No. 1.) By Memorandum Order entered on
October 30, 2020, the Court directed Petitioner, within fifteen (15) days of the date of entry
thereof, to pay the $5.00 filing fee or complete and return an in forma pauperis affidavit. (ECF
No. 2.) The Court warned Petitioner that it would dismiss the action if Petitioner did not pay the
filing fee or complete and return the in forma pauperis affidavit within fifteen (15) days of the
date of entry thereof. More than fifteen (15) days have elapsed since the entry of the October 30,
2020 Memorandum Order, and Petitioner has not responded. Accordingly, the action will be
DISMISSED WITHOUT PREJUDICE. A certificate of appealability will be DENIED.

An appropriate order will accompany this Memorandum Opinion,

Let the Clerk file a copy of the Memorandum Opinion electronically and send a copy to

/s/ AY
David J. Novak

United States District Judge

Petitioner.

Richmond, Virginia
Dated: December 31, 2020

 
